   Case 18-96018                Doc 93          Filed 04/01/19 Entered 04/01/19 11:53:30                                    Desc Main
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